Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 1 of 21



    

    

    



                             COMPOSITE EXHIBIT “A”




          Civil Cover Sheet
          Complaint
          Summons issued and served on University of Miami
          Return of Service on University of Miami (November 6, 2018)
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 2 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 3 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 4 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 5 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 6 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 7 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 8 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 9 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 10 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 11 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 12 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 13 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 14 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 15 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 16 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 17 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 18 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 19 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 20 of 21
Case 1:18-cv-25067-DLG Document 1-2 Entered on FLSD Docket 12/04/2018 Page 21 of 21
